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 5                                                                   11/19/2021
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 7
 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
     ~ UNITED STATES OF AMERICA,                       Case No.: ~ ~~ Z.~,`~- ~~~-~- ~
11
                             Plaintiff,                ORDER OF DETENTION PENDING
12                                                     FURTHER REVOCATION
                     v.                                PROCEEDINGS
13                                                      FED. R. CRIM.P. 32.1(a)(6); 18
      ~,`Pip     ~`l'"~n a~e b/                          .S.C. § 3143(a)(1))
14       ll
                             Defendant.
15
16         The defendant having been arrested in this District pursuant to a warrant
17 issued by the United States District Court for the        ~~~ ~~,~ District of
18        ~~~~~~ for alleged violations) ofthe terms and conditions of probation
19 or supervised release; and
20         Having conducted a detention hearing pursuant to Federal Rule of Criminal
21 Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a)(1), the Court finds that:
22 A. (~       The defendant has not met his/her burden of establishing by clear and
23             convincing evidence that he/she is not likely to flee if released under 18
24             U.S.C. § 3142(b) or (c). This finding is based on the following:
25            (`(j        information in the Pretrial Services Report and Recommendation
26            (~          information in the violation petition and reports)
27            () the defendant's nonobjection to detention at this time
28            () other:


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 1           and/ or
 2 B. ~      The defendant has not met his/her burden of establishing by clear and
 3           convincing evidence that he/she is not likely to pose a danger to the safety
 4           of any other person or the community if released under 18 U.S.C.
 5           § 3142(b) or (c). This finding is based on the following:
 6          (~)    information in the Pretrial Services Report and Recommendation
 7          (~     information in the violation petition and reports)
 8          () the defendant's nonobjection to detention at this time
 9          () other:
10
11   IT THEREFORE IS ORDERED that the defendant be detained pending the further
12 revocation proceedings.
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14 Dated: ~ ~V ~,~r ~~9.~-- I~ ~ ~—~'Z
15                                               United States Magistrate Judge
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